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     Attorney for Plaintiff
6
                     UNITED STATES DISTRICT COURT
7
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
8

9    SHARON GILMORE,                  ) Case No. 3:11-cv-01950-JAH-RBB
                                      )
10
     Plaintiff,                       ) JOINT MOTION TO DISMISS
11                                    ) WITH PREJUDICE
            vs.                       )
12
                                      )
13   ALLIANCEONE INCORPORATED, )
14
                                      )
     Defendant.                       )
15   ________________________________ )
16          NOW COME THE PARTIES by and through their attorneys to respectfully
17
     move this Honorable Court to dismiss this matter with prejudice pursuant to Federal
18
     Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
19

20   attorney’s fees. A proposed order has been concurrently submitted to this Court via
21
     email.
22

23
                 Respectfully submitted this 19th day of April, 2012

24                                      By: s/Todd M. Friedman
25                                          Law Offices of Todd M. Friedman, P.C.
                                            Attorney for Plaintiff
26

27                                      By: s/Jeffrey Topor
                                            Simmons and Narita LLP
28
                                            Attorney for Defendant


                                      Stipulation to Dismiss- 1
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1                                  Signature Certification
2          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
3    Policies and Procedures Manual, I hereby certify that the content of this document
4    is acceptable to Jeffrey Topor, counsel for Defendant, Allianceone Incorporated.
5    and that I have obtained Mr. Topor’s authorization to affix his electronic
6    signature to this document.
7

8                                              By: s/Todd M. Friedman
                                               Law Offices of Todd M. Friedman, P.C.
9
                                               Attorney for Plaintiff
10

11

12   Filed electronically on this 19th day of April, 2012, with:
13
     United States District Court CM/ECF system
14

15   Notification sent electronically via the Court’s ECF system to:
16
     Jeffrey Topor
17   Simmonds & Narita LLP
18
     44 Montgomery Street, Suite 3010
     San Francisco CA 94104
19

20   This 19th day of April, 2012.
21
     s/Todd M. Friedman
22   Todd M. Friedman
23

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                                       Stipulation to Dismiss- 2
